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IN THE UNITED STATES DISTRICT COURT
FOR. THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division
SONY MUSIC ENTERTAINMENT, et al.,
Plaintiffs,
¥, Case No. 1:18cv950-LO-JFA
COX COMMUNICATIONS, INC.,

Defendant.

DECLARATION OF

Under penalty of perjury, | declare the following facts to be true and correct:

1. am over the age of 18; of sound mind, and have personal knowledge of the facis
in this declaration.

2. I am Executive: Director for PY which provides, ainong
other things, network and internet access services, co ee
Po (hereafter, “John Doe”), a non-profit (I corporation that

provides hospital and medical care services at its health care facilities De.

Among otlier duties, I am responsible for supervising the administration of those internet-

3. As a medical care provider, John Doe has a secured computer network, connected
io the Internet, and accessible only by approved employees, staff, and providers who are granted
password-protected access privileges. Cox Communications, Inc. (“Cox”) is NOT the internet

service provider for any of John Doe’s secured networks.
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A, John Doe alsé provides an unsecured, public wireless (“Public: WiFi”) network
that can be accessed by patients and ary other visitors who agree to abide: by John Doe’s terms-of
use for the Public Wii network, Cox is the internet service provider for ihis Public WiF 1
network.

5. Attached is a-copy of an access agreement for the Public WiFi network for at least
‘part of the 2011-2014 time period at issue. The accéss agréenient describes prohibited conduct
on the network, including, among other things, copyright infringement.

6. During that.time period, before a visitor was granted access. to John Doe’s Public
Wifi network, the visitor was-required to check a box affirming that he or she would adhere to:
ihe current terins-and conditions stated in the access agreement.

7. Periodically, John Doe would receive a notice from. Cox advising that someone on
the Public WiFi network had ‘used Bit Torrent to download allegedly copyrighted material from
the internet via.a file sharing service. In the notice, Cox would specify a prior date (several days
earlier), IP'address, and port ID associated with the activity.

8. The information provided by Cox did not enable John Doe to identify the specific
device used by a visitor to engage in the download activity cited in Cox’s notice..

9. During the-time period at issue, John Doe did not track, by MAC. address, the
devices accessing its Public WiFi:

This ends the Declaration.

Signed under penalty of perjury

 
